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                   8
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                   9

               10                                 UNITED STATES DISTRICT COURT

               11                               NORTHERN DISTRICT OF CALIFORNIA

               12                                         SAN JOSE DIVISION

               13
                       JULIANNA FELIX GAMBOA and                          CASE NO. 5:24-cv-01270-EKL
               14      THOMAS DOROBIALA, individually and
                       on behalf of all others similarly situated,        STIPULATION AND [PROPOSED]
               15                                                         ORDER FOR EXTENSION OF TIME
                                         Plaintiffs,                      FOR DEFENDANT APPLE INC. TO
               16                                                         ANSWER THE SECOND AMENDED
                              v.                                          COMPLAINT
               17
                       APPLE INC.                                         Judge: The Honorable Eumi K. Lee
               18
                                         Defendant.
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                                                                                 STIPULATION FOR EXTENSION OF TIME
ATTORNEYS AT LAW                                                             TO ANSWER SECOND AMENDED COMPLAINT
 SAN FRANCISCO                                                                             CASE NO. 5:24-cv-01270-EKL
                       Case 5:24-cv-01270-EKL           Document 72        Filed 07/01/25      Page 2 of 5


                   1          Plaintiffs Julianna Felix Gamboa and Thomas Dorobiala (“Plaintiffs”) and Defendant

                   2   Apple Inc. (“Apple”), by and through their respective attorneys of record herein and without

                   3   waiving any rights, claims, or defenses they have in this action, enter into this Stipulation pursuant

                   4   to Civil Local Rule 6-2, with reference to the following circumstances:

                   5          WHEREAS, Plaintiffs filed their Second Amended Class Action Complaint (“Second

                   6   Amended Complaint”) on March 21, 2025 (ECF No. 64);

                   7          WHEREAS, Apple filed a motion to dismiss the Second Amended Complaint on April 11,

                   8   2025 (ECF No. 66);

                   9          WHEREAS, on June 16, 2025, the Court issued an Order denying Apple’s motion to

               10      dismiss the Second Amended Complaint, and set a deadline for Apple to file an answer to the

               11      Second Amended Complaint within 21 days of the Order (ECF No. 70);

               12             WHEREAS, absent an extension, Apple’s deadline to answer the Second Amended

               13      Complaint is July 7, 2025;

               14             WHEREAS, in light of the current deadline falling on the Monday after the Fourth of July

               15      holiday, and given vacation schedules and the length of the Second Amended Complaint, Apple

               16      needs additional time to prepare its answer;

               17             WHEREAS, the Parties have met and conferred, and Plaintiffs have agreed to extend

               18      Apple’s deadline to answer the Second Amended Complaint to July 21, 2025;

               19             WHEREAS, such an extension will not alter any other event or deadline already fixed by

               20      Court order and will not delay or otherwise impact the Parties’ active engagement in discovery;

               21             WHEREAS, the case schedule in this matter has been previously modified by an order

               22      extending the Parties’ pleading deadlines (ECF No. 17); an order continuing the Parties’ case

               23      management conference (ECF No. 21); an order modifying the deadlines for Plaintiffs’ Amended

               24      Complaint and Apple’s responses thereto (ECF No. 23); an order to extend the Parties’ deadline

               25      to submit a stipulated protective order and ESI protocol (ECF No. 33); and this Court’s Case

               26      Management and Scheduling Order (ECF No. 63);

               27             THEREFORE, the Parties, through their counsel, hereby stipulate that Apple shall answer

               28      the Second Amended Complaint on or before July 21, 2025.

                                                                                    STIPULATION FOR EXTENSION OF TIME
ATTORNEYS AT LAW
 SAN FRANCISCO                                                            1     TO ANSWER SECOND AMENDED COMPLAINT
                                                                                              CASE NO. 5:24-cv-01270-EKL
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                   1          IT IS SO STIPULATED.

                   2

                   3   Dated: July 1, 2025               LATHAM & WATKINS LLP
                                                         By: /s/ Alicia R. Jovais
                   4                                         Alicia R. Jovais
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                                                         San Francisco, California 94111-6538
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               11
                                                         Attorneys for Defendant Apple Inc.
               12

               13
                       Dated: July 1, 2025               HAGENS BERMAN SOBOL SHAPIRO LLP
               14                                        By /s/ Ben M. Harrington
                                                            Ben M. Harrington (SBN 313877)
               15
                                                         Ben M. Harrington (SBN 313877)
               16                                        Benjamin J. Siegel (SBN 256260)
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               21                                        Robert F. Lopez (pro hac vice)
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               27                                        Attorneys for Plaintiffs and the Proposed Class

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                                                                       STIPULATION FOR EXTENSION OF TIME
ATTORNEYS AT LAW
 SAN FRANCISCO                                                2    TO ANSWER SECOND AMENDED COMPLAINT
                                                                                 CASE NO. 5:24-cv-01270-EKL
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                   1                                         ATTESTATION

                   2          I, Alicia R. Jovais, am the CM/ECF user whose ID and password are being used to file

                   3   the Parties’ Stipulation and [Proposed] Order for Extension of Time for Defendant Apple Inc. to

                   4   Answer the Second Amended Complaint. In compliance with Local Rule 5-1(i)(3), I hereby

                   5   attest that concurrence in the filing of this document has been obtained from each of the other

                   6   signatories.

                   7

                   8   Dated: July 1, 2025                                        /s/ Alicia R. Jovais

                   9                                                               Alicia R. Jovais

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                                                                                 STIPULATION FOR EXTENSION OF TIME
ATTORNEYS AT LAW
 SAN FRANCISCO                                                         3     TO ANSWER SECOND AMENDED COMPLAINT
                                                                                           CASE NO. 5:24-cv-01270-EKL
                       Case 5:24-cv-01270-EKL        Document 72       Filed 07/01/25     Page 5 of 5


                   1                                        [PROPOSED] ORDER

                   2           Having considered the Parties’ stipulation, IT IS HEREBY ORDERED THAT the

                   3   deadline for Apple to answer Plaintiffs’ Second Amended Complaint is extended to July 21,

                   4   2025.

                   5

                   6           PURSUANT TO STIPULATION, IT IS SO ORDERED

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                   8   DATED: ______________________
                                 July 1, 2025                     ______________________________________
                                                                  THE HONORABLE EUMI K. LEE
                   9
                                                                  United States District Judge
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                                                                                STIPULATION FOR EXTENSION OF TIME
ATTORNEYS AT LAW
 SAN FRANCISCO                                                        4     TO ANSWER SECOND AMENDED COMPLAINT
                                                                                          CASE NO. 5:24-cv-01270-EKL
